                                           Case 3:18-cv-07160-SI Document 32 Filed 05/31/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     RICKY MENDOZA,                                 Case No. 18-cv-07160-SI
                                   8                  Plaintiff,

                                   9            v.                                      JUDGMENT
                                  10     WILLIAM SULLIVAN,
                                  11                  Defendant.

                                  12
Northern District of California
 United States District Court




                                  13         The petition for writ of habeas corpus has been denied. Judgment is entered accordingly.

                                  14

                                  15         IT IS SO ORDERED AND ADJUDGED.

                                  16

                                  17   Dated: May 31, 2022

                                  18                                                ______________________________________
                                                                                    SUSAN ILLSTON
                                  19                                                United States District Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
